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                                                  June 26, 2025
VIA ECF
Hon. Paul G. Gardephe
United States District Court
Southern District of New York
40 Foley Square, Room 2204
New York, New York 10007

Re: Trump v. Simon & Schuster, et al., Case No. 1:23-cv-06883 (PGG)(BCM)

Dear Judge Gardephe,

       We represent Plaintiff President Donald J. Trump in the above-captioned matter and write
to express our profound concern regarding the extended delay in resolving the pending motion
to dismiss and the continued stay of discovery in this case.

       Since the filing of the complaint on January 30, 2023, and the subsequent transfer to this
Court, we have diligently pursued the advancement of this case. We have submitted letters on
August 11, 2023 [ECF No. 51], November 1, 2023 [ECF No. 64], November 20, 2024 [ECF No. 78],
December 17, 2024 [ECF No. 79], and April 25, 2025 [ECF No. 81], requesting, among other things,
the scheduling of oral arguments and the lifting of the discovery stay. Despite these efforts, and
the Court's indication on December 17, 2024 [ECF No. 80], that it was actively working on the
outstanding motion to dismiss, six months have passed without a ruling or further
communication.

       In our most recent letter dated April 25, 2025 [ECF No. 81], we respectfully requested that
the Court provide a date certain by which a ruling would be issued, preferably within 30 days.
Regrettably, that period has now expired, and we remain in limbo, unable to proceed with
discovery or obtain a resolution on the merits of the motion. We have also called chambers,
which declined to provide a timeline.

       As members of the Bar, we are acutely aware of the challenges faced by the judiciary in
managing caseloads and rendering timely decisions. However, when any litigant—be they prince
or pauper, President or citizen—is made to wait for over 1.5 years for a judicial response, it places
the lawyer in an untenable position. We are placed in the litigator’s Kobayashi Maru1, compelled
to choose between continuing to wait indefinitely for a decision or seeking a writ of mandamus
from the Second Circuit—a remedy that is extraordinary and may foster ill will with this Court.

        In the instant case, Plaintiff President Donald J. Trump has been denied the opportunity
to conduct discovery, while the defendants continue to profit from the unauthorized use of his
voice, as evidenced by the copyright registration granted to Plaintiff President Donald J. Trump

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    See Star Trek II “The Wrath of Khan,” Paramount Pictures (1982)
New York                                               Miami                                                London
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by the Copyright Office, Reg. No. SR0000975712. Despite our repeated requests, there has been
no oral argument, no established timeline, and no decision on the motion to dismiss. This
prolonged inaction not only hampers our ability to advocate effectively for our client but also
adds an unnecessary burden during his term as the 47th President of the United States.

        We respectfully urge the Court to consider the gravity of this situation and take
immediate action to resolve the pending motion and allow this case to proceed. Setting a date
for oral argument or providing a definitive timeline for a decision would greatly alleviate the
current impasse and demonstrate the Court's commitment to administering justice in a timely
manner.

      We remain hopeful that the Court will address this matter expeditiously and appreciate
Your Honor’s attention to this pressing issue.

Respectfully Submitted,




Robert Garson

cc: All Counsel of Record (via ECF)




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